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            EXHIBIT 2

                 Redacted for PII
    Case 1:17-cv-02989-AT Document 1471-2 Filed 08/30/22 Page 2 of 10




                 8:41 1


               <0
                                       Eric>


                                Jan 6, 2021, 4:26 PM


                               Scott Hall is on the phone
                               with Cathy about wanting to
                               come scan our ballots from
                               the general election like we
                               talked about the other day. I
                               am going to call you in afew

                                Jan 6, 2021, 8:54 PM




                          Ii
                           IfoiThd Out tonig t, that there
                           sanother way to change
                           ballots in RTR!

                 What?




                 How

                          C
                          l           aManuel on Dim in ion

                 Wow


               00)               Text Message




                                                                    Exhibit
                                                                   PX0006
1                                                                       Latham
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2
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                 9:581                            s.d   c0

               <0                                        oi

                                                        a
                 How is it today? Finished?




                 Good. Scott has landed and
                 the rest of team is almost to
                 Douglas



                         (   7 •hedemrocraticman i
                           stilli
                           0 T    here.


                           Jan 7, 2021, 3:48 PM




                           Jan 7, 2021, 8:02 PM


                              I'm inviting you to install
                              Signal! Here is the link:



                               1r




                              •Signal
                            Message


                           I° C.4

3
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                 What was t ihe nameofthe
                 Colorado dude that was in
                 Coffee in January? Ican't
                 remember his name.




                 This was the election night
                 for the run off. The Dominion
                 guy that was from Colorado.
                 The one who was extra.




4
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                 9:594                             iii   co

               <0                                         oi
                                   Cathy>

                           Jan 5, 2021, 8:42 PM


                                                  You ok?

                          If you need me Friday, get
                          me the same thing you got,
                          and the board can't stop me


                           Jan 6, 2021,10:07 AM


                         Ihope and pray you are not
                         catching any heat from your
                         work today. Iam here if you
                         need anything from me.
                         Thanks for all your support
                         my friend!

                 You are welcome. So far so
                 good.


                           Jan 6, 2021, 5:06 PM
                               -




               0 0)       (jMessage
                                                              -J




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6
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                 9:594                            ,al   0


               <0                                       01
                                    Cathy>


                 Good. Scott has landed and
                 the rest of team is almost to
                 Douglas


                           still!mot1cman


                           Jan 7, 2021, 3:48 PM




                           Jan 7, 2021, 8:02 PM


                              m inviting you to install
                            (Signal! Here is the link:



                               '        'S




                                             Signal
                                   --




                         Signal Messenger: Speak
                         Freely

               fl C)      QMessage




7
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                10:004                             .,sI ? 0


               <0                                        Dl



                 I'm on sig nal)


                           Jan 10, 2021, 4:07 PM


                 Hey. Did yo uall finis h'with
                 the scanner?




                          FNotet. am



                 No one had anything.
                                      DotheY nee the
                                     back??
                                           hopin




                 Just curious


                           Feb 2, 2021,12:32 PM


                          Happy Birthday my Friend!
                          Hope it is agreat one for you

                 Thank you!


                           Feb 10, 2021, 8:10 AM
                                       a
                 Are you aoina to be on the
               fl 0)       CiMessage

               0



8
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                 10:004                            .,sI ? 0


               <0                                        oi
                                  Cathy>


                           Feb 10, 2021, 8:10 AM


                 Are you going to be on the
                 GASOS webinar today?




                 Ok

                           =nebe
                               fo looking



                 No. Iwas asked and looked
                 at the itinerary and didn't see
                 anything suspicious. So I
                 was curious.

                                    don 't see anyt hin g
                             Yeah


                 Ido know that they are going
                 to toe the line that there is
                 nothing wrong with
                 Dominion


                0 0)        iMessage




9
